IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

MISSOURI
William McKeone )
Plaintiff,
v. ) Case No. 4:11-CV-00431-DGK
Capital One Services, L.L.C. )
Defendant.
FIRST AMENDED PETITION

Fair Debt Collection Practices Act

COMES NOW Plaintiff and for his cause of action against the Defendant states the

following.

1. Plaintiff William McKeone, is a resident of Jackson County, Missouri.

2. Defendant Capital One Services, L.L.C. is a Delaware Limited Liability Company doing
business in the State of Missouri.

3. Defendant Capital One Services, L.L.C. has attempted to collect a debt SPECIFICALLY
TWO (2) CREDIT CARD ACCOUNTS WITH ACCOUNT NUMBERS ENDING IN 7490
AND 9733 AS EVIDENCED BY EXHIBIT A, WHICH IS INCORPORATED HEREIN
BY REFERENCE IN HIS ENTIRETY from Plaintiff, by mailing collection letters to the
Defendant at his home in JACKSON County, Missouri. Defendant Capital One Services,
L.L.C. has attempted to collect a debt from Plaintiff, by calling Plaintiff at his home in
JACKSON County, Missouri.

4. This court has jurisdiction over the subject matter of this action pursuant to 15 U.S.C.

1692k(d).

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 1 of 18
10.

Defendant is a debt collector as defined by 15 U.S.C. 1692a(6). THE SPECIFIC FACTUAL
SUPPORT FOR THE ALLEGATION IS AS FOLLOWS: INCORRESPONDENCE MAILED
TO THE PLAINTIFF, DEFENDANT STATED “THIS COMMUNICATION IS FROM A
DEBT COLLECTOR”. See EXHIBIT A, WHICH IS INCORPORATED HEREIN BY
REFERENCE IN ITS ENTIRETY AT PAGE 2.

Plaintiff is a consumer as defined by 15 U.S.C. 1692a(3) and 15 U.S.C. 1692c(d). ALL
DEBTS ALLEGED TO BE OWED UNDER CREDIT CARD ACCOUNTS ENDING IN
7490 (HELD BY WILLIAM MCKEONE D/B/A K & B PAINTING) AND 9733 (HELD
BY LARINA MCKEONE AND WILLIAM MCKEONE) ARE DEBTS INCURRED FOR
PERSONAL, FAMILY OR HOUSEHOLD PURPOSES INCLUDING BUT NOT
LIMITED TO THE PURCHASE OF FOOD, CLOTHING, MEDICAL CARE AND
HOUSEHOLD CONSUMER ITEMS.

Prior to January 12, 2011, Defendant communicated to Plaintiff that it was attempting to
collect a debt owed to Capital One Bank (U.S.A.) N.A. by Plaintiff.

On January 12, 2011, Plaintiff's Counsel informed Defendant, in writing, that counsel
represented the Plaintiff with respect to the debt purportedly owed to Capital One Bank
(U.S.A.) N.A.. See Exhibit A which is attached hereto and incorporated by reference herein.
On January 12, 2011, Plaintiff's Counsel requested in writing that Defendant cease and
desist any further communications with Plaintiff regarding the debt purportedly owed except
as authorized by the Fair Debt Collection Practices Act. See Exhibit A.

After January 26, 2011, Defendant sent a communication to the Plaintiff at his home
address wherein the Defendant attempted to collect a debts INCLUDING BOTH CREDIT

CARD ACCOUNTS (ENDING IN 7490 AND 9733). See Exhibit A.

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 2 of 18
11.

12.

13.

14.

a. After January 12, 2011, Defendant telephoned Plaintiff at his home and attempted to
collect the alleged debt.

The communication subsequent to January 12, 2011 from the Defendant to the Plaintiff was
a violation of 15 U.S.C. 1692c(a)(2) because the Defendant knew that Plaintiff was
represented by counsel and communicated with the Plaintiff directly.

The communication subsequent to January 12, 2011 from the Defendant to the Plaintiff was a
violation of 15 U.S.C. 1692c(c) because the Defendant communicated with the Plaintiff after
the Plaintiff informed the Defendant in writing that Plaintiff wished the debt collector to
cease further communication with Plaintiff and the communication was not authorized by the
Fair Debt Collection Practices Act.

Plaintiff seeks statutory damages in the amount of $1,000 pursuant to 15 U.S.C.
1692k(a)(2)(A) together with the costs of this action and a reasonable attorney’s fee pursuant
to 15 U.S.C. 1692k(a)(3).

ALL OF THE COMMUNICATIONS AND MATERIALS CONTAINED IN EXHIBIT A
ARE IN CORPORATED HEREIN BY REFERENCE AS IF FULLY SET FORTH HEREIN.

WHEREFORE, Plaintiff prays that the Court enter its judgment in favor of the Plaintiff and

against the Defendant in the amount of $1,000, together with the costs of this action and a reasonable

attorney’s fee and such other relief as the Court deems just and proper.

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 3 of 18
Respectfully Submitted,

The Law Offices of Mark E. Meyer, L.L.C.

/s/ Mark E. Meyer
Mark Meyer, #51786

606 NE Applewood St.

Lee’s Summit, MO 64063

(816) 729-0866 phone

(816) 347-8736 fax
meyerlaw78@yahoo.com
ATTORNEYS FOR PLAINTIFF

Certificate of Service

I, the undersigned attorney of record for the Plaintiff, hereby certify that I served the foregoing
upon all parties and counsel in this case via ecf notification.

/s/ Mark E. Meyer

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 4 of 18
‘SSSA 2 SESS AS ARAN 8c RES ROAM NEA SAS an carey
CapitalOjic |

what’s in your wallet?

Creditor: Capital One Bank (USA), N.A.

Re:Account Number: 4791247093777490 We want to help.
Balance: $1,158.60 Call us.
Amount Due: $235.00 1 ~800-955-6600

Dear William J McKreone:
Has something happened? We know times can be tough, but we're here to help.

You've missed three payments on your Capital One® Small Business account. We just wanted to remind
you that Capital One reports the status of your account to business credit bureaus as well as the consumer credit
ureaus. So, the sooner you pay the amount due, the sooner we can report your account as current to the credit

bureaus.

If you need help making your payment, let us know. Our specially trained associates will work with you to help
no matter what your current situation is. Whether it's arranging a partial payment or customizing a payment plan,
we'll help you find a solution that works for your business and your bottom line.

Please call us at 1-800-955-6600. Our Customer Service Representatives are available M-F 8:00 a.m. to
11:00 p.m. EST and Sat-Sun 8:00 a.m. to 8:00 p.m. EST.

Sincerely,

Capital One Services, LLC
P.S. If you've already sent in a payment, thanks. We appreciate it. If you haven't, please take care of this

@S Soon as you can.

NOTICE: PLEASE SEE REVERSE SIDE FOR IMPORTANT INFORMATION.

Vi21-RL-0308

mayo eal Vv PLEASE RETURN PORTION BELOW WITH PAYMENT v
Capital re 0000000 1 4791247093777490 00 0000000000000000000

* Moving? Change your address online or on the back.

ae . . an
Total enclosed ; | Pay online anytime - no more checks, stamps or clutter.

* Sign up at www.capitalone.com.

H205 9121

William ] McKreone Capital One

P.O. Box 71083
244 Ne Dreamweaver Ave
Lees Summit, MO 64086-5851 Charlotte, NC 28272-1083

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 5 of 18

/POO391 CNIDAZTEA 4ALZ Vand set rR nw eae e en -
1-2

1, Who We Are and Who We service. Capital One Services,
LLC is a subsidiary of Capital One, National Association, and
services the following Capital One affiliated companies:

i
The terms usu in this Section are defined by applicable state
or focal law. This is not a complete list of the rights that you
might have.

* Capital One Bank (USA), National Association; 3. Bankruptcy. If you are entitled to bankruptcy protections for
* Capital One, National Association; and your Account this letter is only for informational purposes. It is
* Capital One Auto Finance, Inc. not an attempt to collect, assess or recover a debt or claim. Do
not send in any payments without speaking with your bank-
The name of your creditor has been previously disclosed to you ruptcy attorney or the Bankruptcy Court. If you want to discuss
and is identified for purposes of this letter by the creditor name your Account or your bankruptcy proceeding, please have your
and/or your Account number on the front. Unless another attorney contact us or the servicer disclosed in this letter,
servicer is disclosed in this letter or has been separately disclosed
to you as the current servicer of your Account, we are the current 4. Electronic Check Conversion. When you provide a check as
servicer of your Account. payment, you authorize us either to use information from
your check to make a one-time electronic fund transfer from
2. State and Local Disclosures The following disclosure is your deposit account or to process the payment as a check
required by state or local law if your Account involves a debt transaction. When we use information from your check to
owed primarily for personai, family, household or other con- make an electronic fund transfer, funds may be withdrawn
sumer purpose(s), and you receive this letter in Connecticut, from your deposit account as soon as the same day we receive
the District of Columbia, lowa, New York City, North Carolina your payment, and you will not receive your check back from
or Vermont: your financial institution. Your authorization is not limited by
the date on the check.
This is an attempt to collect a (consumer) debt (claim).
Any information obtained will be used for that purpose. 5. Interest and Charges Continue to Accrue. All stated
amounts are owed on the date of this letter. Because interest,
The following disclosure is required by state law if your Account late charges, and other charges might change from day to day
involves a debt owed primarily for personal, family, household or as provided in your agreement, the amount due on the day
other consumer purpose(s) and you receive this letter in lowa: you pay may be larger. For example, if you pay the amount
stated in this letter, your Account might still have a balance
This communication is from a debt collector. after your payment is received.
The following disclosure is required by state law if your Account 6. Time Period for Payment or Other Action. Unless a specific
involves a debt owed primarily for personal, family, household or date is provided, any time period for your payment or other
other consumer purpose(s) and you receive this letter in action begins on the date of this letter.
Massachusetts:
7. IRS Reporting of Debt Forgiveness. If we cancel or forgive
NOTICE OF IMPORTANT RIGHTS: YOU HAVE THE RIGHT TO $600 or more of principal on a debt you owe, we must pro-
MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE vide a 1099-C tax form to you and the IRS. Please consult your
CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU tax advisor and the instructions accompanying your tax forms
AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL for more information.
REQUEST WILL BE VALID FOR ONLY TEN DAYS UNLESS
YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST 8. Credit Reporting of Your Settled Account. If your Account is
POSTMARKED OR DELIVERED WITHIN SEVEN DAYS OF settled before it is charged off, the remainder of your Account
SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY balance will be charged off. We will then report your Account
WRITING TO THE CREDITOR. to credit reporting agencies as settled with an outstanding
balance.
Changing Address? Not quite ready to make payments online?

No problem. Follow these simple steps to make sure we
y:

Address process your payments smoo

* Don't staple or paper clip your check to the payment slip.

Home Phone * Be sure to use the payment envelope that came with your

AltematePhone OOOO letter. Using a different envelope could delay processing.

E-mail Address * Please don't include any additional correspondence.

Last but not least, be sure to write your 16-digit account
Please print address or phone number changes above using blue or black ink. number on your check.

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 6 of 18 ©
COL9449A 6056 0087 1227R 24 110120 PAGE 00002 OF 0082 DCCASP 00008943

THE LAW OFFICES OF MARK E. MEYER, L. L.C.
606 NE Applewood
Lee’s Summit, MO 64063

Mark E. Meyer* PHONE: (816) 729-0866
*Licensed in Missouri and Kansas FAX: (816) 347-8736

email: meyerlaw78@yahoo.com

 

January 12, 2010

Capital One Services, L.L.C.
P.O. Box 71083 7
Charlotte, NC 28272-1083 —

Via Certified Mail, Receipt No.

RE: Fair Debt Collection Practices Act Notice
William McKeone
Account Number: 4791247093777490 |
Original Creditor: Capital One Bank (USA) N.A. .
Amount of Debt Alleged: $1,158.60

 

To whom it may concer:

TAKE NOTICE Pursuant to 15 U.S.C.1692c (the Fair Debt Collection Practices Act) of the
following:

- The above named debtor is represented by undersigned attorney and The Law Offices

of Mark E. Meyer, L.L.C.. The address of the undersigned attomey is set forth above.

Demand is made that any further communication regarding the above referenced debt
| be directed to the said attorney.

.. °.— he above named debtor disputes the debt in its entirety and requests that you cease ,
any further communication regarding the debt, except as authorized by the Fair Debt
Collection Practices Act.

te a see, =

| If you violate the Fair Debt Collection Practices Act after the date the letter is received, the
Debtor will file a civil action against you pursuant to 15 U.S.C.1692k.

Sincerely,

Mark E. r

PAGE 02 OF 02 009401 / QA- 9184/DoOM

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 7 of 18 ®

|
|
{
COL9449A 6056 0087 1227R 24 110120 PAGE 00001 OF 00002 DCCASP se008a935

pita

Capit. abOne’

P.O. Box 30285
Salt Lake City, UT 84130-0285

8935

William J Mckreone
244 Ne Dreamweaver Ave
Lees Summit MO 64086-5851

Dear William J Mckreone,

January 19, 2011

Re: 00000000KxxK7 490
Case #: 10001631544156

We would like to inform you that we received a letter from your attorney indicating that you have
authorized and appointed them to act on your behalf. We have responded directly to your attorney

regarding the enclosed request.

If we should cancel this arrangement with your attorney, please contact us at 800-955-6600.

Sincerely,
Capital One Services, LLC

Enclosure

PAGE 01 OF 02

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 8 of 18

009384 / QA- 9176/DoM
6631 © 2011 Capital One. Capital One is a federally registered service mark. All rights reserved. (4)
6-0

TMT CEMY YAEL C ALTACE A

COL94649A 6056 0087 1227R 24 110120 PAGE 00002 oF 00002 DCCASP 00008935

THE LAW OFFICES OF MARK E. MEYER, L. L.C.
606 NE Applewood
Lee's Summit, MO 64063

Mark E. Meyer* PHONE: (816) 729-0866
*Licensed in Missouri and Kansas FAX: (816) 347-8736

email: meyerlaw78@yahoo.com

 

January 12, 2010

Capital One Services, L.L.C.
P.O. Box 71083

Charlotte, NC 28272-1083 —
Via Certified Mail, Receipt No.

RE: Fair Debt Collection Practices Act Notice
William McKeone
Account Number: 4791247093777490
Original Creditor: Capital One Rank (USA) N.A.
Amount of Debt Alleged: $1,158.60

To whom it may concer:

 

TAKE NOTICE Pursuant to 15 U.S.C.1692c (the Fair Debt Collection Practices Act) of the
following:

- The above named debtor is represented by undersigned attorney and The Law Offices

of Mark E. Meyer, L.L.C.. The address of the undersigned attorney is set forth above.

Demand is made that any further communication regarding the above referenced debt
| be directed to the said attorney.

.. *..—the above named debtor disputes the debt in its entirety and requests that you cease

 

ere ee -—*~

Collection Practices Act.

| If you violate the Fair Debt Collection Practices Act after the date the letter is received, the
Debtor will file a civil action against you pursuant to 15 U.S.C.1692k.

Sincerely,

U8

| Mark E. r

PAGE 02 OF 02 009385 / QA- 9176/DOM

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 9 of 18

any further communication regarding the debt, except as authorized by the Fair Debt :

Pereerrnrermertcenr eee 4h ee RAN Ne oe ee
0-0

COL9449A 6056 0087 1227R 24 110120 PAGE 00001 oF 00002 DCCASP 00008943

Pita

Capit. abOne’

P.O. Box 30285
Salt Lake City, UT 84130-0285

8943

William J Mckeone
244 Ne Dreamweaver Ave
Lees Summit MO 64086-5851

Dear William J Mckeone,

January 19, 20171

Re: 0Q0OOOOKXKY 7 33
Case #: 10001631613509

We would like to inform you that we received a letter from your attorney indicating that you have
authorized and appointed them to act on your behalf. We have responded directly to your attorney

regarding the enclosed request.

If we should cancel this arrangement with your attorney, please contact us at 800-955-6600.

Sincerely,
Capital One Services, LLC

Enclosure

PAGE 01 OF 02

009400 / Qa-

6631 © 2011 Capital One. Capital One is a federally registered service mark. All rights reserved.

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 10 of 18

9184/DOM

©
 

 

Page 1 of 2 1-800-867-0904

www.capitalone.com/smallbusiness

 

Visa Business Card HXXX-AXXK-XAXK-7490

 

«NEW BALANCE MINIMUM PAYMENT DUE DATE
“| $1,265.98 $316.00 Feb 23, 2011

ti PLEASE PAY AT LEAST THIS AMOUNT :
5, Credit Limit: $800.00 Cash Credit Limit: $800.00 |

    

Available Credit for Cash: $0.00 ,

 

 
   

 

Dec. 27 - Jan. 26,2011 31 Days in Billing Cyde

 

MINIMUM PAYMENT WARNING: If you make only the minimum payment each period, you
will pay more in interest and it will take you longer to pay off your balance. For example:

 

Payment Amount Each Period if No Approximate Time to Pay Off Estimated
Additional Charges Are Made Statement Balance Total Cost
Minimum Payment 10 Years $2,620 : |

if you would like information about credit counseling services, call 1-888-326-8055.

LATE PAYMENT WARNING: if we do not receive your minimum payment by your due date,
you may have to pay a $39.00 late fee and your APRs may be increased up to the Penalty
APR of 29.40%,

 

 

 

@ | Available Credit: $0.00 j
e ewe!

5 :

s Previous Balance Payments and Credits Fees and interest Charged Transactions New Balance

S ny ne ' i ae “a aay
me $1,158.60 j ~ $0.00 | + $107.38 + $0.00 = $1,265.98 i
mis. _ nae f ee. ee eS Q 7

 

 

‘You're behind by four payments. But you can sti! bring your account current by paying
, the minimum payment amount on your statement. Need help? Give us a call at
1 800.955.6600. We ll work together to find a solution. iy

 

BUSINESS TRANSACTIONS |
PAYMENTS, CREDITS & ADJUSTMENTS FOR WILLIAM J MCKREONE #7490

 

20000 40 10G00 Bavd 9ZLOTT 29

 

Help is Available.
Just pick up the phone.

Call 1-800-955-6600 and a specially trained agent will

 

 

 

j FEES be happy to help you check your balance and make payments.
1 4 24JAN PAST DUE FEE $39.00
2 263AN  OVERLIMIT FEE JAN 26, 2011 $39.00
Total Fees This Period $78.00
ol Total Fees This Year $78.00 i se ee.
ao INTEREST CHARGE CALCULATION
® | INTEREST CHARGED ~ ile 9 ae
INTEREST CHARGE:PURCHASES $29.38 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Total interest This Period $29 38 Annual Percentage Balance Subject to
Total interest This Year $29 38 Type of Balance Rate (APR) Interest Rate Interest Charge
Purchases 29.40% D $1,176.48 $29.38
Cash 29.40% D $0.00 $9.00

Transactions continue on page 2

PLEASE RETURN PORTION BELOW WITH PAYMENT OR LOG ON TO WWW.CAPITALONE COM/SMALLBUSINESS TO MAKE YOUR PAYMENT ONLINE.

1 4791247093777490 26 1265980025000316001

Capital

Due Date

Account Number: 4791-2470-9377-7490

New Balance Amount Enclosed

Minimunt Payment

Feb 23, 2011

$1,265.98
PLEASE PAY AT LEAST
THIS AMOUNT

 

$316.00

WILLIAM J MCKREONE bers
K B PAINTING
C-0 THE LAW OFFICE OF NARK E MAYER LLC

bOb NE APPLEWOOD ST
LEES SUMMIT, MO K40b3-2435

Vogfest Epo ofy gle qLEY Ay pyodeyUUpect Uae tf ffl y eg fg ee fly

Case 4:11-cv-00431-DGK Document 10

 

Take advantage. Take control. |

Manage your account online

at www.capitalone.com
400006

* Make payments
* Review account information
* Manage your account in privacy

 

Capital One Bank (CUSA)+ NA.

P.O. Box &05549
City of Industry. CA 94?4b-0599

eT elite pi ee tee

Filed 04/28/11 Page 11 of 18 @

Please make checks oavable to Canital One Bank (USA) NA and mail with this crunnn in the ancinced envelnns
 

Mw :
a
a

OLGTE

2el 20G0 9909 FSsewI0OS

20000 4O ZG0G0 39Vd SZTOIT Za

 

ene

Capital

Page 2 of 2 1-800-867-0904
www.capitalone.com/smallbusiness

 

 

 

 

Dec. 27 - Jan. 26, 2011 31 Days in Billing Cyde

: . Credit Limit: $800.00 ©
' Visa Business Card XXXM-XXXX-XXXX-7490 | / :
i ; Available Credit: $0.00 5

NEW BALANCE MINIMUM PAYMENT DUE DATE eee $800.00 ||
$1,265.98 $316.00 Feb 23, 2011 : Available Credit for Cash: $0.00
Previous Balance Payments and Credits Fees and Interest Charged __Transactions _New Balance _

$1,158.60 -— $0.00 a $107.38 a $0.00 = $1,265.98 i

 

"BUSINESS TRANSACTIONS CONTINUED

| Under terms previously disclosed to you, same or all of your Annual Percentage Rates

| (APRs) have been increased since your account was past due twice in the past 12 billing

the due date. To avoid this

cycles. If your rates have already increased, subsequent delinquencies extended the

; duration of the increased rates. Remember: if we receive your minimum manthly

: payment on time for 12 consecutive billing cycles, this account will be reviewed for a
possible return to your Non-introductory APR.

» Your account has gone over its credit limit. To avoid additional overlimit fees, you

: should pay more than the Minimum Payment, Please pay enough to bring your account
| balance below your credit |
> remains below your credit limit. Please be sure the amount you pay accounts for any
_ tuture purchases, fees, and finance charges

imit immediately, and make sure your account balance

. You were assessed a past due fee because your minimum payment was not received by

fee in the future, we recommend that you allow at least 7

| business days for your minimum payment to reach Capital One.

| YOUR BILLING CYCLE AND

DUE DATE ARE CHANGING. Thanks for letting us know you

moved. Since your zip code has changed, your billing cycle will now end on the 27th of
: the month. As a result, your due date will also change.

Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 12 of 18
 

 

aphreS

201 1096 9909 3eseut09

20800 40 toeee 3avd EOReTt ze

/

GELes

  

NEW BALANCE
$5,622.45

Be re

_ . Credit Limit: $5,000.00
. , Available Credit: $0.00

_ Previous Balance

$5,511.20

call at 1 800.955.6600.

f

TR

   
    

Youre behind by six payments,
payments, finance charges will ¢
happening. Please pay the minimum paym

Were here to help. Take contro! of your credit with Capital One

  

Page 1 of 2 1-800-903-3637
www.capitalone.com

“ao
XXXX-XXXX-XXXX-9733

DUE DATE
Mar 28, 2011

MINIMUM PAYMENT
$1,066.06

<
ett,

Available Credit for Cash: $0.00

 

Payments and Credits Fees and interest Ch

$114.25

“fwe charge off your account due to late or missed of
ontinue fo accrue. Act now to prevent this from
EAT amount On your Statement or give us a foi

 

!

  

MINIMUM PAYMENT WARNING: If
will pay more in interest and it will tal

you make only the minimum payment each period, you
ke you longer to pay off your balance, For example:

Payment Amount Each Period if No Approximate Time to Pay Off Estimated
Additional Charges Are Mad Statement Balance Total Cost
Minimum Payment gg $12,078

?

if you would like information about credit counseling services, call 1-888-326-8055.

LATE PAYMENT WARNING; if we do not receive your minimum payment by your due date,
you may have to pay a late fee of up to $35.00 and your APRs may be increased up to the
Penalty APR of 29.40%,

Transactions

arged

New Balance

  
  
 
   

  

J

Help is Available.
Just pick up the phone.

Call 1-800-955-6600 and a specially trained agent will
be happy to help you check your balance and make payments,

 

FEES
] 28 FEB PAST DUE FEE $35.00
Total Fees This Period $35.00
Total Fees This Year $105.00 Po gto
INTEREST CHARGE CALCULATION
INTEREST CHARGED ge ney pe
INTEREST CHARGE:PUIRCHASES $76.25 _ Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Total Interest This Period $76.25 i Annual Percentage Balance Subject to
Total Interest This Year $239.91 Type of Balance Rate (APR) interest Rate interest Charge
Purchases 17.90% B $5,552.84 1 $76.25
Cash 24,90% D $0.00 $0.00
Transactions continue on page 2

/

PLEASE RETURN PORTION BELOW WITH PAYMENT OR LOG ON TO WWW.CAPITALONE.COM TO MAKE YOUR PAYMENT ONLINE.

conta

Mar 28, 2011

Due Date

LARINA P MCKEONE
WILLIAM J MCKEON
e44 NE DREANWEAV
LEES SUMMIT. Oo

HT pegged,

New Balance

$5,622.45

1 486236221582

Account Number: 4862-3622-1582-9733

Minimum Payment Amount Enclosed
$1,066.00

PLEASE PAY AT LEAST
THIS AMOUNT

H2i0

E 48730

ER AVE
b4OBL~SA51

PD ugdiageretpeepestg felt]

Rbers orale tke OLIN ne BACUMENEG nElled 0

9733 03 53622450125001066003

 

  

Take advantage. Take control.
Manage your account online

at www.capitalone.com

* Make payments

* Review account information
* Manage your account in privacy

    
      
    

400006

  
 

Capital One Bank (USA), N.A.
P.O. Box 60599
City of Industry, CA 91736-0599

TTT rte eel tert Tete elf

dl

e 13 of 18

osed envelope,

4/28/11 Pa

is Coupon in the en
=

OELeb

eet logd 9909 aeegut07

200d 40 20900 aavg SCsolr za

   

_ Visa Platinum
NEW BALANCE
$5,622.45

. Previous Balance

$5,511.20 =

   

 

| You were assessed a past due fee because
_ the due date. To avoid this fee in the future
__ business days for your minimum payment

1
i

~~ Case 4:11-cv-00431-DGK Document 10 Filed 04/28/11 Page 14 one

MINIMUM PAYMENT

31,066.00

Payments and Credits

  
 

INS CONTINUED _

 
 

Page 2 of 2 1-800-903-3637
www.capitalone.com

XOX XXX KHKK-9 733
DUE DATE
Mar 28,2011

Fees and Interest Charged
$441.25

$0.00 : +

 

your minimum payment was not received by
» we recommend that you allow at least 7
0 reach Capital One.

Transactions

  

   

Feb. 04 - Mar. 03,2011 28 Days in Billing Cycle -

Available Credit:
Cash Credit Limit:
Available Credit for Cash:

Credit Limit:

New Balance

$5,000.00 :

$0.00 |
$5,000.00
$0.00 _

 

 

 

$0.00 = $5,622.45 |

 
 

   

|

 
  

| ae

"Visa Platinum

 

 

 

 

 

 

1-800-903-3637

PRS .
XXXX-XXXX-KXXK-9733 |

 

 

 

 

er

Jan. 04 - Feb. 03, 2011 31 Days in Billing Cycle

' _ . Page 1 of 2 : /
; : www.capitalone.com |

will pay more in interest and it will take you longer to pay off your balance. For example:
Payment Amount Each Period if No Approximate Time to Pay Off Estimated

 

 

  
 

MINIMUM PAYMENT WARNING: if you make oniy the minimum payment each period, you

«NEW BALANCE MINIMUM PAYMENT DUE DATE —_Additional Charges Are Made  atement Balance Total Cost
a! $5,511.20 $899.00 Feb 28, 2011 | Minimum Payment 22 Years 1 $12,049

ie aici if you wouid like information about credit counseling services, call 1-888-326-8055,

ois L ity

a ___PLEASE PAY AT LEAST TH AMOUNT | LATE PAYMENT WARNING: If we do not receive your minimum payment by your due date,

| rr ve tints, | you may have to pay a late fee of up to $35.00 and your APRs may be increased up to the
go. Credit Limit: $5,000.00 Cash Credit Limit: $5,000.00 | Penalty APR of 29.40%.
er i i
e | | Available Credit: $0.00 Available Credit for Cash: $0.00 !
“ i cet tesa rn nn een nee iene pt et a ate Hl Lt Sete i
a |
g
¢ | Previous Balance Payments and Credits Fees and Interest Charged Transactions New Balance
Spee (nr, (rn ft ee (|
wi! $5,393.48 fo | $0.00 a ee $117.72 gp $0.00 | $5,591.20 *
Ro ne Nee ne Ee 4 |
efo7 Cpr a a ne eat +
~ Youre behind by five payments. if You Continue fo miss payments your account is at risk '
S| af being charged off. Please don't let this happen. f you're feeling overwhelmed, call us bd
a} af 1.800.955 6600. We'll work with you to resolve this matter fof H j . A il bli '

i | t

z Stee mri | e p iS Val a e, i
R TRANSACTIONS } | ;
S | PAYMENTS, CREDITS & ADIUSTMENTS FOR LARINA P MCKEONE #9733 ) J ust pick U D the p h 0 n e :
z | i:
S| _ Call 1-800-955-6600 and a specially trained agent wil
3 7 y 9
“| FEES be happy to help you check your balance and make payments. |

; 4 28 JAN PAST DUE FEE $35.00 fo i

Total Fees This Period $35.00 tf

Total Fees This Year $70.00 1 4 ;
| | as i
2 Oe Waetet ciees PURCHASES $82.72 __ INTEREST CHARGE CALCULATION
we) : . 1 eee ee

| Total Interest This Period $82.72 Your Annual Percentage Rate (APR) is the annual interest rate on your account.

Total interest This Year $163.66 | ;

| Type of Balance Annual Percentage Balance Subject to Interest Charge

Rate (APR) Interest Rate
| Purchases | 17.90%D $5,441.27 | 82.72
| Cash i 24.90% D i $0.00 ! $0.00

Transactions continue on page 2

PLEASE RETURN PORTION BELOW WITH PAYMENT OR LOG ON TO WWW.CAPITALONE.COM TO MAKE YOUR PAYMENT ONLINE.

1 4862362215829733 03 3511200125000899001

: Account Number: 4862-3622-1 582-9733

Amount Encosed

Due Date New Balance Minimum Paymen
| Feb 28,2011 = $5,511.20 || $899.00 it
PLEASE PAY AT LEAST
THIS AMOUNT
H210
LARINA P HCKEONE canoe

WILLIAM J MCKEONE
E44 NE DREAMWEAVER AVE
LEES SUMMIT, MO b408b-S454

TUTTE fpf tLe Ta PETE pee ftot eg fg taly tye

 

Take advantage. Take control.
Manage your account online

at www.capitalone.com

* Make payments

* Review account information
* Manage your account in privacy 400006

 

 

 

 

 

Capital One Bank (USA). N-A.
P.O. Box 60594
City of Industry, CA FL7bb-0599

TA bre lle tape lt

(oD

e, 15, of

CHesee spakelcherks0)4Bd td pis! oh Gane (OSH W AOsnd ALA With tie Blabdn i aHaQe dey ade.
oe

 

Page 2 of 2 1-800-903-3637

| n ; » 4 www.capitalone.com
Se eS EES Credit Limit: $5,000.00 |

| Visa Platinum XXXX-XXXX-KXKK-9733

i 14 Available Credit;
NEW BALANCE MINIMUM PAYMENT DUE DATE a

$5,511.20 $899.00 | Available Credit for Cash:

 

    
        
       
  

wi
Ve
we:

   

 

| You were assessed a past due fee because your minimum payment was not received by
| the due date. To avoid this fee in the future, we recommend that you allow at least 7
| business days for your minimum payment to reach Capital One.

ZOT Taso 9909 aeeeuiaD

°
st
a
~
o
nN
o
a
a | B [
RS | ;
i } i
t 8 5
: ' i
oo: j
so: :
o i
= | . {
No: 3
go j \
j ! }
cd i i
a es :
oOo: t 1
No i :
J f :
{ ! 3
! $
: i i
a }
wi 4 :
Std £ }
ni 1
wi Bi :
J i i
i ]
i Hy
1 j
| :
f Hy
i |
j { 4
r 1
i ;
i } i
J { E
| '
; i :
: : :
4 :
4 '
i '
\ . ij g
é | 4
| : i
7 \
: 5 :
- i
j

“oo Cage ditd-ev-00431-DGK—Document10 Filed 04/28/11 Page16of18
 

1-800-867-0904
y www.capitalone.com/smallbusiness

Page 1 of 2

XXX KXXK-XXKK-7490
DUE DATE

Mar 24, 2011

Visa Business Card
|| NEW BALANCE
$1,338.18

MINIMUM PAYMENT
$401.00

«
wee
«

 

.
PLEASE PAY AT LEAST THIS AMOUNT

 

 

ri |
‘> Credit Limit: $800.00 Cash Credit Limit: $800.00 :

| Available Credit: $0.00 Available Credit for Cash: $0.00

' Previous Balance

$1,265.98 ee

261 £0G6 $989 AsegutAD

 

j Youre behing by five payments ff you continue to miss payments your account is at risk
| of being charged off. Please dont let this happen if youre feeling overwhelmed, ca‘l us
at 1.800 955.6500 Well work with you to resolve this matter

 

| BUSINESS TRANSACTIONS

PAYMENTS, CREDITS & ADJUSTMENTS FOR WILLIAM J MCKREONE #7490

 

zeeee sO tgaee B9vd zezzert Zo

Jan, 27 - Feb. 27, 2011 32 Days in Billing Cyde

MINIMUM PAYMENT WARNING: ff you make only the minimum payment each period, you
will pay more in interest and it will take you longer to pay off your balance. For example:

 

Payment Amount Each Period If No Approximate Time to Pay Off Estimated }
Additional Charges Are Made Statement Balance Total Cost |
Minimum Payment — 10 Years $2,667 |

If you would like information about credit counseling services, call 1-888-326-8055.

LATE PAYMENT WARNING: if we do not receive your minimum payment by your due date,
you may have to pay a $39.00 late fee and your APRs may be increased up to the Penaity
APR of 29.40%,

New Balance

Transactions

 

Help is Available.
Just pick up the phone.

Call 1-800-955-6600 and a specially trained agent will

 

 

 

I
| FEES be happy to help you check your balance and make payments,
io 23 FEB PAST DUE FEE $39.00 i
t Total Fees This Period $39.00 i
I Total Fees This Year $117.00 ;
| Tee e
m | INTEREST CHARGED INTEREST CHARGE CALCULATION
w | INTEREST CHARGE PURCHASES $33.20 -
Total interest This Period $33.20 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Total Interest This Year $62.58 Annual Percentage Balance Subj
: yect to
Type of Balance Rate (APR) Interest Rate interest Charge
Purchases 29.40% D $1,288.01 $33.20
Cash 29.40% D $0.00 $0.00

Transactions continue on page 2

PLEASE RETURN PORTION BELOW WITH PAYMENT OR LOG ON TO WWW. CAPITALONE.COM/SMALLBUSINESS TO MAKE YOUR PAYMENT ONLINE.

1 4791247093777490 27 1338180025000401007

Capitaine

Due Date

Account Number: 4791-2470-9377-7490
Amount Endosed

New Balance

$1,338.18

Minimum Payment

Mar 24, 2014

   

$401.60

PLEASE PAY AT LEAST
THIS AMOUNT

J210
122263

LLC

WILLIAM J MCKREONE

K B PAINTING

C-0 THE LAU OFFICE OF MARK E MAYER
bOb& NE APPLEWOOD ST

LEES SUMMIT, MO b4YOb3-2415

Woda bLaglyoodyegy lap foppeenEEA fA ftfoa deg Plog tpegpeg dye

 

Take advantage. Take control.
Manage your account online

at www.capitalone.com

* Make payments

* Review account information

* Manage your account in privacy 400006

 

Capital One Bank (USA). N-A.
P.O. Box bOS99

City of Industry, CA 447}b-05599
eT beh pe it dee yal

CEES TES OHS ROMO HRA 134 ele chieyoeyarin tho apslaser-enyglons
EISSZY

28000 40 Z0G00 AgYd Zzzart 20

 
  

  

ZOl £090 3909 Agegutag

, duration of the increased rates. Remember: If we receive your minimum monthly i
; Payment on time for 12 consecutive billing cycles, this account will be reviewed for a !
| possible return to your Non-Introductory APR. i i

_ Should pay more than the Minimum Payment. Please pay enough to bring your account
_ balance below your credit limit immediately, and make sure your account balance
| Temains below your credit limit. Please be sure the amount you pay accounts for any

  

 

Page 2 of 2 1-800-867-0904

 

XXXX-XXXX-XXXX-7490 | . :
; Available Credit:

NEW BALANCE MINIMUM PAYMENT DUE DATE he Cash Credit Limit:

 

$1,338.18 $401.00 Mar 24,2011 Available Credit for Cash:
Previous Balance Payments and Credits Fees and interest Charged eo

 
 

$1,265.98 j o-

 

 

SCONTINUED

Under terms previously disclosed to you, some or all of your Annual Percentage Rates
(APRs) have been increased since your account was past due twice in the past 12 billing
cycles. if your rates have already increased, subsequent delinquencies extended the

Your account has gone over its credit limit. To avoid additional Overlimit fees, you :

future purchases, fees, and finance charges.

You were assessed a past due fee because your minimum payment was not received by
the due date. To avoid this fee in the future, we recommend that you allow at least 7
business days for your minimum payment to reach Capital One.

~ Case 4:11-cv-00431-DGK  Dociiment’10” Filed-04/28/11- Page 18 of 18

  

Jan. 27 - Feb. 27,2011 32 Days in Billing Cyde :

y www .capitalone.com/smallbusiness

Credit Limit:

 

$0.00 .
$800.00 «

$1,338.18

 
   

$0.00. «

New Balance :

 
